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                      EXHIBIT 3
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       Generated on: This page was generated by TSDR on 2025-06-20 14:11:44 EDT
                 Mark: IN-N-OUT BURGER




  US Serial Number: 73724430                                                        Application Filing Apr. 25, 1988
                                                                                                Date:
     US Registration 1516560                                                       Registration Date: Dec. 13, 1988
           Number:
             Register: Principal
           Mark Type: Trademark, Service Mark
     TM5 Common Status                                                           LIVE/REGISTRATION/Issued and Active
            Descriptor:
                                                                                 The trademark application has been registered with the Office.



               Status: The registration has been renewed.
         Status Date: Mar. 02, 2019
Publication Date:Sep. 20, 1988

                                                                   Mark Information
          Mark Literal IN-N-OUT BURGER
           Elements:
 Standard Character No
            Claim:
       Mark Drawing 3 - AN ILLUSTRATION DRAWING WHICH INCLUDES WORD(S)/ LETTER(S) /NUMBER(S)
              Type:
       Description of THE MARK COMPRISES THE WORDS "IN-N-OUT BURGER" IN THE COLOR RED SUPERIMPOSED OVER A STYLIZED ARROW
               Mark: OF THE COLOR YELLOW OUTLINED IN RED.
          Disclaimer: "BURGER"
       Design Search 24.15.02 - Arrows forming any other geometric figure
            Code(s): 24.15.25 - Other arrows
                     26.17.12 - Angles (geometric); Chevrons

                                                      Related Properties Information
 Claimed Ownership 1031095, 1031096, 1023506, 1101638, 1085163, 1101628, 1281821 and others
              of US
      Registrations:

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: MILK AND FRENCH FRIED POTATOES FOR CONSUMPTION ON OR OFF THE PREMISES
         International 029 - Primary Class                                              U.S Class(es): 046
            Class(es):
        Class Status: ACTIVE
            First Use: Jun. 1987                                                   Use in Commerce: Jun. 1987

                  For: HAMBURGER SANDWICHES AND CHEESEBURGER SANDWICHES, HOT COFFEE, AND MILKSHAKES FOR CONSUMPTION
                       ON OR OFF THE PREMISES
         International 030 - Primary Class                                              U.S Class(es): 046
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            Class(es):
          Class Status: ACTIVE
             First Use: Jun. 1987                                     Use in Commerce: Jun. 1987

                  For: LEMONADE AND SOFT DRINKS FOR CONSUMPTION ON OR OFF THE PREMISES
          International 032 - Primary Class                               U.S Class(es): 045
             Class(es):
          Class Status: ACTIVE
             First Use: Jun. 1987                                     Use in Commerce: Jun. 1987

                  For: RESTAURANT SERVICES AND CARRY-OUT RESTAURANT SERVICES
          International 042 - Primary Class                               U.S Class(es): 100
             Class(es):
          Class Status: ACTIVE
             First Use: Jun. 1987                                     Use in Commerce: Jun. 1987

                                                 Basis Information (Case Level)
            Filed Use: Yes                                               Currently Use: Yes
             Filed ITU: No                                                Currently ITU: No
            Filed 44D: No                                                Currently 44D: No
            Filed 44E: No                                                Currently 44E: No
            Filed 66A: No                                                Currently 66A: No
      Filed No Basis: No                                             Currently No Basis: No

                                                 Current Owner(s) Information
          Owner Name: IN-N-OUT BURGERS
     Owner Address: 4199 CAMPUS DRIVE
                    NINTH FLOOR
                    IRVINE, CALIFORNIA UNITED STATES 92612
   Legal Entity Type: CORPORATION                                      State or Country CALIFORNIA
                                                                      Where Organized:

                                              Attorney/Correspondence Information
                                                               Attorney of Record
     Attorney Name: Valerie Sarigumba                                   Docket Number: IOB-27
    Attorney Primary rblake@innout.com                                   Attorney Email Yes
     Email Address:                                                         Authorized:
                                                                   Correspondent
     Correspondent Valerie Sarigumba
     Name/Address: IN-N-OUT BURGERS
                   4199 Campus Drive, Ninth Floor
                   IRVINE, CALIFORNIA UNITED STATES 92612
                Phone: 9495096289
   Correspondent e- rblake@innout.com vsarigumba@innout.com            Correspondent e- Yes
              mail:                                                     mail Authorized:
                                                       Domestic Representative - Not Found

                                                      Prosecution History
                                                                                                                          Proceeding
   Date               Description
                                                                                                                          Number
May 06, 2020       NOTICE OF SUIT
Apr. 01, 2020      NOTICE OF SUIT
Mar. 02, 2019      NOTICE OF ACCEPTANCE OF SEC. 8 & 9 - E-MAILED
Mar. 02, 2019      REGISTERED AND RENEWED (SECOND RENEWAL - 10 YRS)
Mar. 02, 2019      REGISTERED - SEC. 8 (10-YR) ACCEPTED/SEC. 9 GRANTED
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Mar. 02, 2019     CASE ASSIGNED TO POST REGISTRATION PARALEGAL
Jan. 30, 2019     TEAS SECTION 8 & 9 RECEIVED
Feb. 15, 2017     NOTICE OF SUIT
Feb. 15, 2017     NOTICE OF SUIT
Sep. 19, 2012     NOTICE OF SUIT
May 21, 2012      NOTICE OF SUIT
Jul. 23, 2008     CASE FILE IN TICRS
May 02, 2008      REGISTERED AND RENEWED (FIRST RENEWAL - 10 YRS)
May 02, 2008      REGISTERED - SEC. 8 (10-YR) ACCEPTED/SEC. 9 GRANTED
Feb. 28, 2008     ASSIGNED TO PARALEGAL
Feb. 21, 2008     REGISTERED - COMBINED SECTION 8 (10-YR) & SEC. 9 FILED
Feb. 21, 2008     PAPER RECEIVED
Jun. 30, 1995     REGISTERED - SEC. 8 (6-YR) ACCEPTED & SEC. 15 ACK.
Nov. 16, 1994     REGISTERED - SEC. 8 (6-YR) & SEC. 15 FILED
Dec. 13, 1988     REGISTERED-PRINCIPAL REGISTER
Sep. 20, 1988     PUBLISHED FOR OPPOSITION
Aug. 20, 1988     NOTICE OF PUBLICATION
Jul. 11, 1988     APPROVED FOR PUB - PRINCIPAL REGISTER
Jun. 22, 1988     EXAMINER'S AMENDMENT MAILED
Jun. 16, 1988     ASSIGNED TO EXAMINER
Jun. 16, 1988     ASSIGNED TO EXAMINER

                                           TM Staff and Location Information
                                                               TM Staff Information - None
                                                                      File Location
   Current Location: GENERIC WEB UPDATE                                   Date in Location: Mar. 02, 2019
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